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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT T. SMITH,           :
                Plaintiff  :             No. 1:CV-03-0898
    v.                     :
                           :             (Judge Kane)
KENNETH KYLER and          :
RAY EARLSTON               :             Document Electronically Filed
                           :
                Defendants :

                 BRIEF IN SUPPORT OF DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT



                                         Respectfully submitted,

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                           STATEMENT OF THE CASE

        This is a civil rights action brought pursuant to 42 U.S.C. §1983, alleging

that Defendants violated the Religious Land Use and Institutionalized Persons Act

of 20001 (“RLUIPA”), as well as Plaintiff’s First and Fourteenth Amendment

rights by refusing to accommodate his religious beliefs while in prison. Plaintiff is

Robert T. Smith (“Smith”), a pro se inmate currently incarcerated in the State

Correctional Institution at Huntingdon (“SCI-Huntingdon”).          Defendants are

Reverend Ray Earlston, Jr., a protestant chaplain at SCI-Huntingdon, and Kenneth

Kyler, Superintendent of SCI-Huntingdon.

        Plaintiff, a believer in Rastafarianism, alleges that Defendants have denied

him the freedom to exercise his religion by failing to provide a separate Rastafarian

worship service. (See Statement of Material Facts, “SMF” at ¶3). He further

alleges that he is denied exercise of his religious beliefs because Rastafarians are

not permitted to pray as a group. (Id.). Plaintiff seeks injunctive relief requiring

one Rastafarian group worship service per week, led by either a live Rastafarian

prayer leader, or a taped2 Rastafarian prayer leader. (Id.).

        Plaintiff filed the complaint on May 27, 2003, and Defendants answered the

complaint on August 27, 2003. On October 3, 2003, Defendants filed a Motion for

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    Pub.L. 106-274, Sept. 2000, 114 Stat. 803.



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Summary Judgment and Statement of Material Facts. This brief is filed in support

of that Motion.

                            STATEMENT OF FACTS

      A statement of material facts was appended to defendant’s motion for

summary judgment and, in the interest of brevity, will not be repeated here. The

defendant respectfully calls this Court’s attention to that statement, and will

reference pertinent facts therefrom at appropriate points in this brief.

                            QUESTIONS PRESENTED

     A.      ARE DEFENDANTS ENTITLED TO JUDGMENT
             AS A MATTER OF LAW BECAUSE PLAINTIFF’S
             RIGHT TO FREE EXERCISE OF HIS
             RELIGIOUS BELIEFS IS REASONABLY
             ACCOMMODATED AT SCI- HUNTINGDON?

             Suggested Answer: Yes.

      B.     SHOULD THE COMPLAINT BE DISMISSED
             BECAUSE ITS CLAIMS ARE BARRED BY THE
             APPLICABLE STATUTE OF LIMITATIONS?

             Suggested Answer: Yes.

      C.     SHOULD THE COMPLAINT BE DISMISSED
             BECAUSE RLUIPA DOES NOT APPLY IN THIS
             CASE?

             Suggested Answer: Yes.


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  Plaintiff does not indicate in his Complaint if he is seeking an audio or
videotape.

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                                   ARGUMENT

Summary Judgment Standard

      Summary judgment is appropriate where “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(c); Celotex

Corp. v. Catrett, 477 U.S. 317, 322 (1986). The moving party bears the burden of

demonstrating the absence of a genuine dispute of material fact. Celotex Corp.,

477 U.S. at 323. An issue is genuine if the evidence before the court is such that a

reasonable jury could return a verdict in favor of the non-moving party. Hankins

v. Temple University, 829 F.2d 437, 440 (3d Cir. 1987). The substantive law

applicable to the claim serves to identify which facts are material for purposes of

summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      Once the moving party has demonstrated that there is no genuine issue of

material fact, the nonmoving party must go beyond the allegations in his or her

pleading, and “set forth specific facts showing that there is a genuine issue for

trial.” Celotex Corp, 477 U.S. at 324; Smith v. CGU, 179 F.Supp.2d 425, 428

(M.D. Pa. 2001); Fed.R.Civ.P. 56(e). In addition, judgment is appropriate as a

matter of law when the non-moving party has failed to make an adequate showing

on an essential element of his or her case as to which he or she has the burden of


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proof. Cleveland Policy Management Sys. Corp., 526 U.S. 795, 804 (1999);

Equimark Commercial Financial Co. v. C.I.T. Financial Serv. Corp., 812 F.2d 141,

144 (3d. Cir. 1987).

A.    THE UNDISPUTED MATERIAL FACTS REVEAL THAT
      DEFENDANTS ARE ENTITLED TO JUDGMENT AS A
      MATTER OF LAW WITH RESPECT TO ALL CLAIMS
      BECAUSE PLAINTIFF’S RELIGIOUS BELIEFS ARE
      REASONABLY ACCOMMODATED AT SCI- HUNTINGDON.

      Although Plaintiff is incarcerated, the Supreme Court has made clear that

“convicted persons do not forfeit all constitutional protections by reason of their

conviction and confinement in prison.” Bell v. Wolfish, 441 U.S. 520, 545, 99

S.Ct. 1861, 60 L.Ed. 2d 447 (1979). “Inmates clearly retain protections afforded

by the First Amendment, including its directive that no law shall prohibit the free

exercise of religion.” O’Lone v. Shabbaz, 482 U.S. 342, 348, 107 S. Ct. 2400, 96

L.Ed 2d 282 (1987).       Nevertheless, the fact of incarceration and the valid

penological objectives of deterrence of crime, rehabilitation of prisoners, and

institutional security justify limitations on the exercise of constitutional rights by

inmates. See Pell v. Procunier, 417 U.S. 817, 822-23, 94 S. Ct. 2800, 41 L.Ed. 2d

495 (1974). Thus, an inmate “retains [only] those rights that are not inconsistent

with his status as a prisoner or with the legitimate penological objectives of the

corrections system.” Id. at 822.




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      Specifically, prisoners’ exercise of First Amendment freedoms may be

curtailed when, in the informed judgment of prison officials, such exercise poses

“the likelihood of disruption to prison order or stability, or otherwise interferes

with the legitimate penological objectives of the prison environment.” Jones v.

North Carolina Prisoners’ Labor Union, 433 U.S. 119, 132, 97 S.Ct. 2532, 2541

(1977). In Turner v. Safley, 482 U.S. 78, 89, 107 S. Ct. 2254, 96 L. Ed 2d 64

(1987), the Supreme Court articulated the standard for reviewing a prison

regulation challenged on constitutional grounds.           “When a prison regulation

impinges on inmates’ constitutional rights, the regulation is valid if it is reasonably

related to legitimate penological interests.” Id. at 84.

      While the standard of review as outlined by Turner requires a court to

respect the security, rehabilitation and administrative concerns underlying a prison

regulation without requiring proof that the regulation is the least restrictive means

of addressing those concerns, it also requires a court to give weight in assessing the

overall reasonableness of regulations to the inmate’s interest in engaging in

constitutionally protected activity. DeHart v. Horn, 227 F. 3d. 47 (3d. Cir. 2000).

      The Third Circuit Court of Appeals in DeHart v. Horn, reviewed the Turner

reasonableness standard and assessed the overall reasonableness of prison




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regulations3 by weighing four factors.         First, there must be a valid, rational

connection between the prison regulation and the legitimate governmental interest

put forward to justify it. Second, a court must consider whether inmates retain

alternate means of exercising the circumscribed right. Third, a court must take into

account the costs that accommodating the right would impose on other inmates,

guards and prison resources generally. And fourth, a court must consider whether

there are alternatives to the regulation that fully accommodate the prisoner’s rights

at a de minimis cost to valid penological interests. Id. at 51, citing Turner.

      In this case, Defendants assert that DOC’s decision to not provide separate

prayer services for Rastafarians does not deny Plaintiff a reasonable opportunity

exercise his religious beliefs. Against the backdrop of the need to enforce order,

stability and security within State correctional institutions, the DOC has

traditionally accommodated religions with significant inmate following to the

greatest extent possible.    Ecumenical services for major faith groups, which

represent the whole body of a particular faith group, are celebrated at state prisons.

Chaplains who are staffed at the prison are able to serve the needs of each faith

groups denomination or sect.4


In DeHart, an inmate alleged that his First Amendment rights were violated by
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prison officials’ refusal to accommodate his request for a special diet.

Major faith groups within the Department’s institutions include Catholic, Jewish,
4


Protestant and Native American. While there may be distinct denominations or

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      Satisfying the first, third and fourth prongs of Tuner, The DOC has provided

legitimate penological interests concerning the accommodation of Plaintiff’s

religious requests.   In his declaration, Reverend Torma explains that separate

services for individual religious denominations or sects would have an adverse

impact on prison administration by increasing the likelihood for disruption to the

order, stability and security of the facility. (SMF at ¶6).

      Torma states that multiplying the number of denominations, sects or groups

who believe they are entitled to separate religious services at the Department’s

twenty-six institutions would stretch scarce prison resources because of the added

space, personnel and money that would be required to provide for additional

congregations of prison inmates in a manner consistent with prison security. (SMF

at ¶7). She explains that multiplying the number of sects or groups entitled to

separate services would have an adverse impact upon security at the prisons

because additional correctional employees would be needed to provide security at

each additional service. (SMF at ¶8). Providing separate services would also have

an adverse impact upon space at the prisons because additional areas would need to

be designated within facilities, that are already short of space, to conduct multiple


sects within the major faith groups, no separate services or chaplains are provided
for those groups. For example, for those inmates who are members of Protestant
faiths, such as the Lutheran, Baptist or Methodist denominations, religious needs



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services.   (SMF at ¶9).    Finally, providing secure separate services for each

denomination or sect of a religious group at twenty-six State operated prisons

would have an adverse financial impact upon the Department. (SMF at ¶10).

      In Torma’s opinion, separate services for each religious group would require

an inordinate amount of resources to accommodate them in a manner consistent

with prison security. (SMF at ¶10). Here, The DOC has articulated legitimate

penological concerns regarding the accommodation of inmates’ religious beliefs,

including providing one ecumenical Rastafarian service and one Rastafarian

chaplain at SCI-Huntingdon.

      Turning to the second prong of Turner, Reverend Joanne Torma, DOC

Administrator of Religious Services, has articulated the alternate means available

to Plaintiff in exercising his religious beliefs. Reverend Torma states that SCI-

Huntingdon accommodates inmates of the Rastafarian faith.            (SMF at ¶11).

Plaintiff is free to have a Rastafarian chaplain visit him at the prison, provided the

chaplain meets the Department’s requirements for visitors. (SMF at ¶12). Plaintiff

is also permitted to have religious books and materials sent to him, as long as they

meet the criteria of the inmate publication review, governed by DOC




are serviced by a Protestant chaplain and ecumenical Protestant services are
available to them. (SMF at ¶19).


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Administrative Directives. Plaintiff is also permitted to pray in his cell. (SMF at

¶13).

        Moreover, Plaintiff is permitted to follow the tenets of the Rastafarian faith

as long as those practices are consistent with the Department’s directives and

policies and do not disrupt the order, stability and security of the prison. (SMF at

¶14).    All Rastafarians at SCI-Huntingdon have reasonable opportunities to

exercise their religious beliefs measured against the backdrop of a prison setting.

        Security issues are paramount in correctional institutions, and are “especially

important in prison free exercise cases because the bleakness of institutional life

may create an incentive to falsely allege religious motivation for acts otherwise

forbidden by prison authorities.” Africa v. Commonwealth, 662 F.2d 1025, 1030

(3rd Cir. 1981). Courts should not second guess prison administrators in their

decision in establishing policy as to the number and types of inmate religious

services they are able to safely and securely provide to inmates incarcerated within

their facility. While prison regulations cannot interfere with religious belief and

opinion, they may necessarily interfere with religious practices.        In this case,

Plaintiff is permitted to exercise his religious beliefs and alternate means are

available to him in expressing his beliefs. The Court should hold that Plaintiff’s

right to exercise his religion has been accommodated at SCI-Huntingdon.




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B.    THE UNDISPUTED MATERIAL FACTS REVEAL THAT
      DEFENDANTS ARE ENTITLED TO JUDGMENT AS A
      MATTER OF LAW WITH RESPECT TO ALL CLAIMS
      BECAUSE THE ACTION IS BARRED BY THE APPLICABLE
      LIMITATIONS PERIOD.

      It is now well established that claims brought in Pennsylvania pursuant to 42

U.S.C. §1983 are subject to a two year limitations period. Smith v. City of

Pittsburgh, 764 F.2d 188 (3d Cir. 1985), cert. denied, 474 U.S. 950. Under federal

law, a §1983 claim accrues when the plaintiff knows, or has reason to know, of the

injury that constitutes the basis of the action. Deary v. Three Un-named Police

Officers, 746 F.2d 185, 193 (3d Cir. 1984); Sandutch v. Muroski, 684 F.2d 252,

254 (3d Cir. 1982) (per curiam). The date when "the plaintiff becomes aware, or

should have become aware, of both the fact of injury and its causal connection to

the defendant," triggers the limitations period even if the plaintiff did not realize

the defendant's conduct was tortious or unlawful. Somers v. Bradford Area School

District, 694 F.Supp. 125, 136 (W.D. Pa. 1988), citing, inter alia, United

States v. Kubrick, 444 U.S. 111 (1979). The trigger date for the running of the

limitations period coincides with the occurrence of facts or events which would

cause a reasonable person to inquire whether she has suffered a legal wrong.

Jensen v. Snellings, 636 F.Supp. 1305, 1309 (E.D. La 1986) citing Cook v. Avien,

Inc., 573 F.2d 685 (1st Cir. 1978).




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      In the present case, Plaintiff has been continuously incarcerated at SCI-

Huntingdon since 1999. (SMF at ¶15). According to Assistant Superintendent

Diana Baney, from the inception of Plaintiff’s incarceration at SCI-Huntingdon,

through the time he filed this Complaint on May 27, 2003, separate Rastafarian

worship services, taped Rastafarian prayer leaders and Rastafarian group prayers

have never been permitted. (SMF at ¶16).

      Plaintiff acknowledges in his Complaint that as early as 1995, he became

aware of the fact that Rastafarian worship services, and taped Rastafarian prayer

leaders, have never been permitted at SCI-Huntingdon.              (SMF at ¶17).

Furthermore, on August 15, 2000, Plaintiff filed a grievance with SCI-Huntingdon

officials, complaining about the lack of a separate Rastafarian worship services,

and asking for one Rastafarian worship service per week.            (SMF at ¶18).

Therefore, Defendants contend that Plaintiff was well aware of his alleged

constitutional deprivation for more than two (2) years prior to the filing of the

present complaint.

      Defendants also assert that if the Plaintiff believes his religious freedom is

not being reasonably accommodated, the “trigger date” for the §1983 statute of

limitations would have been the date on which Plaintiff was first aware that he may

have been suffering from this alleged constitutional deprivation. Under federal

law, a §1983 claim accrues when the plaintiff knows, or has reason to know, of the


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injury that constitutes the basis of the action. Deary v. Three Un-named Police

Officers, 746 F.2d 185, 193 (3d Cir. 1984)

      Plaintiff states in his Complaint that he was aware of this deprivation since

1995, which is approximately eight (8) years prior to the time he filed his

complaint on May 27, 2003. Therefore, Plaintiff’s Complaint makes clear the fact

that as early as 1995, Plaintiff was “aware of facts or events which would cause a

reasonable person to inquire whether she has suffered a legal wrong.”

      At the latest, Plaintiff believed that he was suffering a violation of his

constitutional rights by the date he filed his first grievance on the matter, August

15, 2000. Even with that more advanced date, a complaint filed on May 27, 2003

would still be untimely. Therefore, Plaintiff’s claims are barred by the statute of

limitations.



      C.       RLUIPA DOES NOT APPLY IN THIS CASE5.

RLUIPA, 42 USC §§ 2000cc to 2000cc, provides, in pertinent part:


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  A copy of the recent decision in the U.S. Middle District case of Williams v.
Bitner, et al., (CV-01-2271)(Connor, J) is attached. In Williams, Judge Connor
held the RLUIPA was not violative of the Establishment Clause, Tenth
Amendment, Eleventh Amendment and Spending Clause. In the present case,
Defendants, in order to preserve these issues for appeal, will make similar
constitutional arguments which the Defendants made in Williams. Moreover,
Defendants in the present matter make an argument under the Commerce Clause
which was not present in the Williams case.

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      42 USC § 2000cc-1. Protection of religious exercise of institutionalized
      persons.
      (a) General rule
            No government shall impose a substantial burden on the religious
            exercise of a person residing in or confined to an institution, as
            defined in section 1997 of this title, even if the burden results
            from a rule of general applicability, unless the government
            demonstrates that imposition of the burden on that person--
            (1) is in furtherance of a compelling governmental interest; and
            (2) is the least restrictive means of furthering that compelling
                    governmental interest.
      (b) Scope of application.
            This section applies in any case in which--
            (1) the substantial burden is imposed in a program or activity that
                    receives federal financial assistance.

      RLUIPA does not apply in this case because the Act is an unconstitutional

exercise of Congress= power under both the Spending and Commerce Clauses. In

addition, RLUIPA violates the Separation of Powers Doctrine as well as the Tenth

Amendment. Moreover, the DOC has not placed a “substantial burden” on

Plaintiffs’ exercise of his claimed Rastafarian beliefs, and Defendants have shown

a compelling interest in not providing separate group prayer services for

Rastafarians.

      1.     RLUIPA Exceeds Congress= Spending Power

      The Spending Clause gives Congress the authority to influence matters it

cannot directly regulate through its enumerated powers. Mindful of this broad

power, yet recognizing its limitations, the Supreme Court, in South Dakota v. Dole,

483 U.S. 203 (1987), identified four restrictions on Congress=s power to legislate


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under the Spending Clause: (1) the spending power must be in pursuit of the

general welfare;6 (2) conditions on the funds must be unambiguous; (3) the

conditions of the federal funds must be reasonably related to the particular national

program; and (4) the Spending Clause regulation must not violate other,

independent constitutional provisions. Id. at 207-208. If Congress exceeds any

one of these restrictions, it has improperly invoked the Spending Clause.

      RLUIPA=s Spending Clause provision exceeds Congress= power in three

ways. First, RLUIPA=s conditions are ambiguous. While the Defendants concede

the DOC receives federal grant money, neither RLUIPA itself, nor any of the

federal moneys received by the DOC, have affirmatively apprised the DOC of its

option to accept or to decline federal funds in order to avoid RLUIPA=s preferred

rights for prisoners. Furthermore, the subject is not addressed in RLUIPA in a

Aclear voice@ or otherwise. See Pennhurst State School and Hospital v. Halderman,

451 U.S. 1, 17 (1981). Accordingly, there can be no consent if a state is unaware

of the conditions.

      Moreover, even if exact language had been included in the any federal funds

received by DOC prior to their acceptance, RLUIPA=s least restrictive means


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       The requirement that Congress act to serve the general welfare is for all
practical purposes no limitation at all. The level of deference is such that it is
questioned whether it is judicially enforceable restriction at all. Dole, supra. at 208
n.2.


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standard is too ambiguous to allow for an informed choice, and Ait is difficult [for

states] to know what is meant by a requirement that they operate in the least

restrictive setting.@ Pennhurst, supra. at 24-25. This is particularly true in the

prison setting, where such an amorphous standard is unworkable because Aevery

administrative judgment would be subject to the possibility that some court

somewhere could conclude that it has a less restrictive means of solving the

problem at hand.@ Turner v. Safley, 48 U.S. 78, 89 (1987). RLUIPA=s standard is

so subjective that it is, in reality, no standard at all, and could not be Afairly be said

that the state could make an informed choice.@ See Pennhurst, supra. at 24-25.

      Second, Congress has exceeded its Spending Clause power as RLUIPA

violates the relatedness requirement that federal funds must be sufficiently related

to the condition imposed. As Dole mandates, conditions attached to federal funds

must bear some relationship to the purpose of the federal funding and must have a

direct relationship to the specific federal program. Id. at 207.

      Dole involved conditions attached to highway safety funds that were directly

related to highway safety and conditions intended to limit drunk driving. Those

conditions were both related to the general purpose of the funds and logically

connected to further that purpose. Here, the connection between the purpose of the

federal funding received by the DOC, and the condition that those programs not

impose restraints on inmates= religious practices, is not apparent. In support of this


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argument, Defendants submitted a declaration evincing that while the DOC does

receive federal financial assistance, none of those funds have any relation to

religion or impose any condition regarding prisoners= religious rights. (SMF at

¶20).

        Moreover, the Supreme Court, in a post Dole decision regarding the

relatedness requirement, upheld the Spending Clause condition because Congress

controlled only those matters directly related to the project funded and did not

restrict the recipient=s discretion in other areas. Rust v. Sullivan, 500 U.S. 173,

196-199 (1991). In Rust, the Court held that conditions placed on Title X funding

for abortions were constitutionally permissible, noting that Aunconstitutional

conditions involve cases where the Government has placed a condition on the

recipient of the subsidy rather than on a particular program or service, thus

effectively prohibiting the recipient from engaging in protected conduct outside the

scope of the federally funded program. Id. at 197. RLUIPA runs afoul of the

Court=s holding in Rust by attempting to place conditions on recipients of federal

funds and control matters not related to the specific federal funding.

        Third, RLUIPA offends state sovereignty using federal funds as coercion, or

a direct regulation of areas of traditional State concern. Administration of State

prisons has always been regarded as a state function and one of the most important

of States= traditional roles. The question here is whether Congress, in the guise of


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Spending Clause legislation, can achieve indirectly, what it cannot constitutionally

achieve directly. AIf the Spending Clause is simultaneously interpreted to permit

Congress to seek otherwise forbidden regulatory aims indirectly through a

conditional offer of federal funds to the states, the notion of a federal government

of enumerated powers will have no meaning.@ See Baker, Conditional Federal

Spending After Lopez, 95 Colum. L. Rev. 1911, 1920 (1995).

      As Justice O=Connor noted in Dole, A[i]f the spending power is limited only

by Congress= notion of the general welfare, the reality, given the vast financial

resources of the Federal Government, is that the Spending Clause gives power to

Congress to tear down the barriers, to invade the states= jurisdiction and become a

parliament of the whole people, subject to no restrictions other than those that are

self imposed.. . . this of course, . . . was not the Framers= plan and is not the

meaning of the Spending Clause.@ Dole, 483 U.S. at 217. (O=Connor, J.,

dissenting).

      Conditions on the receipt of federal funds always must bear some

relationship to the purpose of the federal funding; otherwise, the spending power

could provide the means to give the federal government limitless authority over the

States. RLUIPA is nothing more than an attempt by Congress to invade

sovereignty by using its power under the Spending Clause as an enabling provision




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for the otherwise unconstitutional exercise of federal power over areas of

traditional State concern.

      2.     RLUIPA Exceeds Congress= Commerce Power

      Congress= alternate authorization for RLUIPA was the Commerce Clause.

See '3(b)(2). Here too, Congress exceeded its commerce powers by attempting to

regulate more than its power permits. Pursuant to the Commerce Clause, Congress

may regulate three types of activities: channels of interstate commerce,

Ainstrumentalities of@ and Athings in@ interstate commerce and intrastate activities

that Asubstantially affect@ interstate commerce. United States v. Lopez, 514 U.S.

546, 558-559 (1995). In Lopez, the Court found the Gun -Free School Zone Act to

be an unconstitutional use of Congress= Commerce Power, because Congress failed

to demonstrate that possession of guns in schools substantially affected interstate

commerce. Id. at 567. The Court in Lopez refused to pile inference upon

inference in order to find a substantial effect. Id.

      State prison officials= regulations of state prisoners religious conduct

certainly does not fall within the purview of commerce. Here, Plaintiff challenges

the DOC policy which does not permit a separate Rastafarian prayer service. It is

hard to imagine how Congress= Commerce Power can reach this type of non-

commercial, inmate activity that occurs entirely inside prisons that are located

entirely within the state boundaries. Any attempt to connect a separate Rastafarian


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worship service, and its relationship to interstate commerce would be ludicrous. In

this case RLUIPA is unconstitutional as exceeding Congress= power under the

Commerce Clause.

      3.     The DOC Policy Does Not Substantially Burden
             Plaintiff=Right to Free Exercise of His Religious Beliefs.

      While Defendants do not concede that RLUIPA is a valid exercise of

Congress= power under the Spending and Commerce Clauses, the Tenth

Amendment, or the Separation of Powers doctrine, RLUIPA does not apply in this

case because DOC policies do not substantially burden Plaintiff= right to free

exercise of his religion in violation of RLUIPA.

      Courts have held that to exceed the substantial burden threshold concerning

free exercise in the prison setting, government regulations must: 1) significantly

inhibit or constrain conduct or expression that manifests some central tenet of a

person=s religious belief; 2) meaningfully curtail a prisoner=s ability to express

adherence to his or her faith; or 3) deny a prisoner reasonable opportunity to

engage in those activities that are fundamental to a prisoner=s religion. See Small

v. Lehman, 98 F. 3rd 762, 766 (3rd Cir.1996) (applying the substantial burden test

under RFRA) quoting Werner v. McCotter, 49 F.3d at 1480 (10th Cir. 1996).

      Arguably, Plaintiff fails the first prong in establishing that his religious

beliefs have been substantially burdened or that his First Amendment rights have



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been violated. Defendants contend that Plaintiff has not demonstrated with any

proof that separate group prayer services are central tenets of the Rastafarian faith.

Furthermore, Plaintiff has not demonstrated that a taped prayer leader is central to

the Plaintiff’s Rastafarian faith.

      The second and third prongs of the substantial burden test are whether the

action curtails a prisoner=s ability to express adherence to his faith and whether the

action denies a prisoner reasonable opportunity to engage in those actions that are

fundamental to his religion. Here again, Plaintiff fails to meet the criteria that his

religious beliefs are substantially burdened. Plaintiff is free to have a Rastafarian

chaplain visit him at the prison, provided the chaplain meets the Department’s

requirements for visitors. (SMF at ¶12). Plaintiff is also permitted to have

Rastafarian religious books and materials sent to him, as long as they meet the

criteria of the inmate publication review, governed by DOC Administrative

Directives. Plaintiff is also permitted pray in his cell. (SMF at ¶13). Therefore,

Plaintiff has the edibility to express adherence to his faith, and is not being denied

actions that are “fundamental” to his religion.

      Defendants contend that Plaintiff has the right to freely exercise his

purported religious beliefs or the tenants of his faith have not been substantially

burdened because he has been presented with a reasonable opportunity to engage in

activities which he perceives as fundamental to his religion.


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      Finally, the DOC actions in this matter are designed to address a compelling

interest, as dictated by RLUIPA. The SCI-Huntingdon prison officials have

articulated a compelling governmental interest in regulating prayer services of their

inmates. As noted above, this requirement is compelling in the prison context,

because of the need to guard against the potential that inmates may use religion as

a manipulation or pretext to breach security or to gain privileges to which they

ordinarily would not be entitled.

      Individuals incarcerated in state correctional facilities are there because they

have been convicted of crimes. The need to enforce order, security, discipline and

peace is paramount within a prison. Here, the DOC is taking necessary steps to

assure society, those working in correctional facilities, and other prisoners, that the

facility in which they are housed is safe, secure and operated in an orderly manner.

For these reasons, the compelling interest standard is met.




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                                CONCLUSION

     For the foregoing reasons the Court should grant Defendants’ Motion for

Summary Judgment

                                         Respectfully submitted,

                                         D. MICHAEL FISHER
                                         Attorney General


                                   By:       /s/ Jason C. Giurintano
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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT T. SMITH,           :
                Plaintiff  :                 No. 1:CV-03-0898
    v.                     :
                           :                 (Judge Kane)
KENNETH KYLER and          :
RAY EARLSTON               :                  (Electronically Filed)
                           :
                Defendants :


                         CERTIFICATE OF SERVICE

      I, Jason C. Giurintano, Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on October 14, 2003,

I caused to be served a true and correct copy of the foregoing document entitled

Brief in Support of Defendants’ Motion for Summary Judgment by depositing

same in the United States Mail, first-class postage prepaid to the following:

Robert Smith, AS-2769
SCI Huntingdon
1100 Pike Street
Huntingdon, PA 16654-1112



                                         /s/ Jason C. Giurintano
                                       JASON C. GIURINTANO
                                       Deputy Attorney General
